       Case 1:22-cv-05037-AKH Document 82 Filed 06/25/23 Page 1 of 2




                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK


COLBY GOROG, JOSHUA FLINT,                     Civil Action No.: 1:22-cv-05037-AKH
LOUIS ROBINSON, and MICHAEL LERRO,
individually and on behalf of all others
similarly situated,

                         Plaintiffs,            PLAINTIFFS’ MOTION TO
             v.                                 DISQUALIFY AND SANCTION
                                                DEFENSE COUNSEL
ELON MUSK and TESLA, INC.,

                        Defendants.




                                               Submitted By:

                                               EVAN SPENCER LAW, PLLC
                                               Evan Spencer, Esq.
                                               305 Broadway, 7th Floor
                                               New York, NY 10007
                                               (917) 547-4665
                                               Evan@EvanSpencerLaw.com
                                               EvanSpencerLaw.com

                                               Attorney for Plaintiffs and the Class




                                           1
         Case 1:22-cv-05037-AKH Document 82 Filed 06/25/23 Page 2 of 2




                                     NOTICE OF MOTION

       PLEASE TAKE NOTICE that on July 10, 2023, or as soon thereafter as the matter may

be heard before the Honorable Alvin K. Hellerstein, United States District Judge, in Courtroom

14D, of the Daniel Patrick Moynihan Federal District Courthouse located at 500 Pearl Street,

New York, NY 10007-1312, Plaintiffs Colby Gorog, Joshua Flint, Louis Robinson, and Michael

Lerro (“Plaintiffs”) will and do hereby move this Court for an order disqualifying and monetarily

sanctioning the law firm of Quinn Emanual Urquhart & Sullivan LLP, including defense counsel

Alex Spiro, Sarah Concannon, Brenna Nelinson, and Tesla’s counsel Allison Huebert.

       This motion is made pursuant to the Court’s inherent authority to impose sanctions on

attorneys appearing before it, and pursuant to 28 U.S.C. § 1927, and the New York Rules of

Professional Conduct, based upon conflicts of interest and attorney misconduct as set forth in

Plaintiffs’ attached memorandum in support.

       DATED: June 25, 2023

                                                     By: /s/ Evan Spencer
                                                     Evan Spencer Law, PLLC
                                                     305 Broadway, 7th Floor
                                                     New York, NY 10007
                                                     Tel. 917.547.4665
                                                     Evan@EvanSpencerLaw.com

                                                     Attorney for Plaintiffs and the Class




                                     CERTIFICATE OF SERVICE

The undersigned hereby certifies that on the 25th of June 2023, a true and correct copy of the above
and foregoing document was electronically filed with the Clerk of the Court using the CM/ECF
system, giving notice to all parties in this action.
                                                                            /s/Evan Spencer
                                                                            Evan Spencer

                                                 2
